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UNITED STATES DISTRICT COURT 2 =) 1. STs Oe

SOUTHERN DISTRICT OF INDIANA BAL
INDIANAPOLIS DIVISION CPEB TR pu 2. oy

CHARLES R: DALE, JR., )
)

Plaintiff, }

)

VS. ) CAUSE NO:
)

MAX KATZ BAG COMPANY, INC.,

Defendant. 1 0 4 -CV- 03 4? JOT - WIL

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, Charles R. Dale, Jr., (“Dale”), by counsel, for hts cause of action against Defendant.

Max Katz Bag Company, Inc., (“Defendant”), alleges and states as [ollows:

PARTIES
1. Dale has at all relevant times to this action resided in the Southern District of Indiana.
2. Defendant, Max Katz Bag Company, Inc., is doing business within the Southern

District of Indiana.

JURISDICTION AND VENUE

3, This action is brought pursuant to the Family and Medical Leave Act (“FMLA”), 29
U.S.C. §2601 et seq., alleging Defendant violated his rights guaranteed by the FMLA by unlawtully
interfering with, restraining, and/or denying rights guaranteed to Dale under the FMLA. ‘This action is
further brought under the Civil Rights Act of 1866, 42 U.S.C, §1981 (Section 1981”), alleging thal

Defendant discriminating against Dale in his employment based on race.
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4, This Court has jurisdiction over the subject matter of this proceeding pursuant to 28
U.S.C. § 1331 and 1343, 29 U.S.C. §2617(a}(2), and 42 U.S.C, $1981.
5. Dale, at all times relevant, was an “eligible employee” as that term is defined by 29
U.S.C. $2611(2).

6. Defendant is an “employer” as defined by 29 U.S.C. §2611(4).

7. Dale and Defendant. are “person[s]” within the meaning of 42 U.S.C. § 1981, Since
all reside and/or do business within the Southern District of Indiana. this Court has jurisdiction over the
persons of the Defendant.

8. All facts, events, and transactions giving rise to this lawsuit having occurred in the
Southern District of Indiana, thus venue is proper in this court.

FACTUAL ALLEGATIONS

9, Dale, an African-American male, was hired by Defendant on or about December 12,
1998 as a Loader. During all relevant times, Dale was employed as a Rewind Operator.

10. The employment relationship between Dale and Defendant was contractual in nature.

11. At all time relevant to this action, Dale met or exceeded Defendant’s legitimate
expectations of performance.

12. In or about November. 2001, Dale learned that he suftered from a serious health
condition. Defendant had actual knowledge of Dale’s serious health condition.

13. On or about February 11 and 12, 2002, Dale, as a result of his serious health
condition, was absent from work. Pursuant to Defendant’s attendance policy, Dale called Defendant to

inform Defendant of his absence.
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14. On or about February 13, 2002, a Wednesday, Dale. as a result of his serious health
condition, visited his physician. Dale’s physician ordered Dale to remain off of work for the rest of the
week. Again, Dale contacted Defendant to inform Defendant of his absence.

15. On or about February 14, 2002, Dale submitted documents from his physician
concerning his absences on February |] and 12, 2002 and the further instructions to remain off of work
for the rest of the week. At that same time, Dale requested the necessary paperwork for his leave of
absence. Delendant did not provide the paperwork to Dale.

16. On or about February 18, 2002, Dale again inquired about the necessary paperwork
for his leave of absence. Defendant did not provide the paperwork to Dale.

17. On or about February 19, 2002, Defendant finally provided to Dale the necessary
paperwork for his leave absence.

18. On or about February 20, 2002, Defendant gave Dale a written discipline for missing
work on February 11. 12, and 15, despite Dale’s physician’s orders for Dale to remain off of work
during that time.

19, On or about February 26, 2002, Defendant terminated Dale. Defendant's stated
reason for terminating Dale was that Dale improperly inspected a product en January 28, 2002,
Defendant’s reason for terminating Dale is pretextual, because Dale did not improperly inspect a
product on January 28, 2002. In addition, similarly-situated Caucasians and/or employees who had not
engaged in conduct protected by the FMLA and had improperly inspected a product were not
terminated. Moreover, Defendant’s termination of Dale was contrary to Defendant's progressive

disciplinary procedures.

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COUNT I

VIOLATION OF FMLA

20, Dale hereby incorporates by reference paragraphs one (1) through nineteen (19) of his
Complaint as if ihe same were sct forth at length herein.

21. in disciplining Dale and terminating his employment, Defendant has unlawfully retaliated
against Dale for exercising his rights under the FMLA.

2?. In disciplining Dale and terminating his employment, Defendant has unlawfully interfered
with, restrained, and/or denied rights guaranteed to Dale under the FMLA.

23, Defendant’s actions were intentional, willful. and done in reckless disregard of
Dale’s legal rights. Defendant’s unlawful employment actions have violated Dale’s rights as they are

protected by the Family and Medical Leave Act of 1993, 29 U.S.C. $2601 et seq.

24, Asa result of Defendant’s unlawful employment actions, Dale has suffered harm.
COUNT U
RACE DISCRIMINATION
25 Dale hereby incorporates by reference paragraphs one (1) through twenty-four (24) of

his Complaint as if the same were set forth at length herein.

26. Dale was discriminated against on the basis of his race when, on February 20, 2002.
Defendant disciplined Dale for missing work under the direct orders of his physician.

27, Dale was selected for termination because of his race in that similarly-situated
Caucasian individuals who engaged in the same behavior in which Defendant alleges Dale engaged

were not similarly disciplined or discharged.
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28. Defendant's discipline and later termination of Dale was in violation of the Civil Rights
Act of 1866, 42 U.S.C.§ 1981.

29. Defendant's actions were willful. intentional, and done with reckless disregard of Dale's
rights,

30. As aresult of Defendant’s unlawful employment actions, Dale has suffered harm.

REQUESTED RELIEF

WHEREFORE. Plaintiff, Charles R. Dale, Jr. respectfully requests that this Court enter
judgment in his favor and award him the following relicl:

\. Reinstatement to the position of Rewind Operator at the current rate of compensation
for this position:

2. All wages and other economic benefits he lost as the result of Defendant’s unlawful

and/or discriminatory acts:

3. Liquidated damages:

4. Compensatory damages:

5. Punitive damages:

6, All costs and attorneys’ fees he incurs as the result of bringing this action;
7. Pre- and post-judgment interest on all sums recoverable: and

&, All other just and equitable relief to which he is entitled,
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Respectlully submitted,

Aberin cphn.

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SMilhfplec

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Attorneys Jor Plamttl

DEMAND FOR JURY TRIAL

Plaintiff, Charles R. Dale, Jr.. by counsel, respectfully requests a jury trial for all tssues deemed
triable.

Respectfully submitted,

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Mickey J. fee ows 6-49)
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Attorneys for Pkaintilf
